
33 Mich. App. 252 (1971)
189 N.W.2d 822
PEOPLE
v.
STARDEVANT
Docket No. 8979.
Michigan Court of Appeals.
Decided April 28, 1971.
*253 Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, Raymond L. Scoedeller, Prosecuting Attorney, and James R. Ramsey, Assistant Prosecuting Attorney, for the people.
R. Glenn Mathews, Jr., for defendant on appeal.
Before: LESINSKI, C.J., and LEVIN and V.J. BRENNAN, JJ.
PER CURIAM.
Defendant was convicted by his plea of guilty of uttering and publishing a forged instrument, contrary to MCLA § 750.249 (Stat Ann 1962 Rev § 28.446). His appeal as of right is met by the people's motion to affirm. GCR 1963, 817.5 (3).
It is manifest that the question presented, on which decision of the cause depends, is so unsubstantial as to require no argument or formal submission. A defendant is not denied due process rights by the fact that the trial court considers information in a pre-sentence report in determining sentence. People v. Giacalone (1970), 23 Mich App 163; People v. Camak (1967), 5 Mich App 655.
Motion to affirm is granted.
Judge LEVIN concurs because the information relied on by the judge when he sentenced the defendant was disclosed to the defendant and the defendant did not deny its accuracy or request an opportunity to contest its accuracy.
